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                      United States Court of Appeals
                                        For the First Circuit
                                           _____________________

      Nos.   23-1119
             23-1142
             23-1143

                                                  JANE DOE,

                                              Plaintiff - Appellant,

                                                        v.

       UNIVERSITY OF MASSACHUSETTS-AMHERST, a public educational institution of more
          than 300 employees; DR. DEREK LOVLEY, an individual; DR. TOSHIYUKI UEKI, an
         individual; DR. JOHN LOPES, an individual; JOY WARD, an individual; CHIEF SCOTT
       LIVINGSTONE, an individual; DR. KUMBLE SUBBASWAMY, an individual; SERGEANT
        JONATHAN HALL, an individual; KARLEE DRUMGOOL, an individual; DR. CYNTHIA
      GERSTL-PEPIN, an individual; SEAN REGAN, an individual; CHIEF TYRONE PARHAM, an
                      individual; ATTORNEY RANDALL E. SMITH, an individual,

                                            Defendants - Appellees.
                                            __________________
                                            ORDER OF COURT

                                            Entered: June 23, 2023
                                         Pursuant to 1st Cir. R. 27.0(d)

              Upon consideration of plaintiff-appellant Jane Doe's motion for leave to substitute the
      motion for supplemental time extension to file brief, the motion are granted. Appellant's tendered
      substituted motion attached to the motion for leave to file a substituted motion is accepted for filing
      on this date.


                                                             By the Court:

                                                             Maria R. Hamilton, Clerk
      cc:
      Jane Doe
      Mark Alden Johnson
      Denise Barton
      Deborah I. Ecker
      Hannah Vail
